    Case 0:23-cr-60169-RKA Document 24 Entered on FLSD Docket 12/21/2023 Page 1 of 7

#




                          U N ITED STA TES DISTRICT CO U R T
                          SOU TH E R N D ISTR ICT O F FLO R ID A

                             CASE N O .23-CR-60169-ALTM AN

     U M TED STATES O F A M ER ICA ,

            Plaintiff                                             FILED BY                 D.C.

     v S.                                                               2E2 2 12223
                                                                         ANGELA E.NOBLE
     K ATR IN A B R OW N ,                                              CLEBKU S.DISI CQ
                                                                       s.D.ogFtk -1rrttlun.

            Defendant.

                                    PLEA A G RE EM EN T

            The United StatesAttorney'sOx ceforthe Southern DistrictofFlorida Cthis
     OX ce'')and KATRINA BROW N (Y efendanf')enterinto thefollowingagreem ent:
                 'befendantagreestoplead guilty to counts 1and 2 oftheIndictment,
     w hich charge Defendantw ith W ire Fraud in violation of'Pitle 18,U nited States Code,

     Section 1343.This Ofsce agrees to dism iss Count 3 ofthe Indictm ent.

            2.    D efendantisaware thatthe sentence willbe im posed by the Courtafter

     considering the advisory FederalSentencing Guidelines and Policy Statem ents (the
     RSentencing Gtzidelinesn).Defendantacknowledges and understandsthatthe Court
     w ill com pute an advisory sentence under the Sentencing Guidelines and that the

     applicable guidelines willbe determ ined by the Courtrelying in part on the results

     of a pre-sentence investigation by the Court's probation oo ce,w hich investigation

     willcom m ence after the guilty plea has been entered.D efendant is also aw are that,

     under certain circum stances,the Coul't m ay depart 9om the advisory sentencing
Case 0:23-cr-60169-RKA Document 24 Entered on FLSD Docket 12/21/2023 Page 2 of 7



 guideline range thatithas com puted and m ay raise or lowerthat advisory sentence

 under the Sentencing Guidelines.D efendantis ftzrther aw are and understands that

 the Courtis required to consider the advisory guideline range determ ined underthe

 Sentencing G uidelines but is not bound to im pose a sentence w ithin that advisory

 range;the Courtisperm itted to tailorthe ultim ate sentencein lightofother statutory

 concerns, and such sentence naay be either naore severe or less severe than the

 Sentencing Guidelines'advisory range.K now ing these facts,Defendant understands

 and acknow ledges that the Com .t has the authority to im pose any sentence within

 and up to the statutory m axim l'm authorized by law for the ofense identised in

 paragraph 1 and that D efendant m ay not withdraw the plea solely because of the

 sentence im posed.

       3.     D efendantalso understands and acknow ledges that the Courtm ay,for

 each count,im pose a statutory m axim um term of im prisonm ent of up to 20 years

 followed by a term of superd sed release of up to 3 years.In addition to a term of

 im prisonmentand superdsed release,the Courtm ay im pose aSne ofup to $250,000
 and m ay order forfeitm e and restitution.

       4.     Defendant further understands and acknowledges that,in addition to

 any sentence im posed under parar aph 2 and 3 of this agreem ent,the Court w ill

 im posea specialassessm entof$200.Defendantagreesthatany specialassessm ent
 im posed shallbe paid atthe tim e ofsentencing.lfD efendantis lnancially unable to




                                          2
Case 0:23-cr-60169-RKA Document 24 Entered on FLSD Docket 12/21/2023 Page 3 of 7



 pay the specialassessm ent,Defendant agrees to present evidence to this Oflce and

 the Courtatthe tim e ofsentencing as to the reasons for Defendant'sfailure to pay.

       5.    This Ox ce reserves the right to inform the Cotzrt and the probation

 oo ce of all facts pertinent to the sentencing process, including a1l relevant

 inform ation concerning the ofenses com m itted,w hether charged or not,as wellas

 concerningDefendantand Defendant'sbackr ound.Subjectonlytotheexpressterm s
 of any ar eed-upon sentencing recom m endations contained in this agreem ent,this

 Oo ce further reserves the rightto m ake any recom m endation as to the quality and

 quantity ofpunishm ent.

       6.     This O x ce agrees that it willrecom m end at sentencing that the Court

 reduce by 2 levels the sentencing-guidehne levelapplicable to Defendant's offense,

 pm suantto Section 3E1.1(a)ofthe Sentencing Guidelines,based upon Defendant's
 recognition and ao rm ative and tim ely acceptance ofpersonalresponsibility.Ifatthe

 tim e of sentencing Defendant's offense levelis determ ined to be 16 or greater,this

 Offce w illSle a m otion requesting an additionall-leveldecrease pursuantto Section

 3E1.1(b) of the Sentencing Guidelines, stating that Defendant has assisted
 authorities in the investigation or prosecution of D efendant's ow n m isconduct by

 tim ely notifying authorities ofDefendant'sintention to enter a plea ofguilty,thereby

 perm itting the governm ent to avoid preparing for trial and perm itting the

 governm entand the Courtto allocatetheirresourcesex ciently.ThisOo ce,however,

 willnotbe required to m ake thismotion and thisrecom m endation ifDefendant:(1)
Case 0:23-cr-60169-RKA Document 24 Entered on FLSD Docket 12/21/2023 Page 4 of 7



 failsorrefusesto m ake a full,accurate and com plete disclosure to the probation office

 ofthe circum stances surrounding the relevant oFense conduct;(2)isfound to have
 m isrepresented factsto the governm entprior to entering into thisplea agreem ent;or

 (3)comm its any misconductafter entering into this plea agreement,including but
 notlim ited to com m itting a state or federalofense,violating any term ofrelease,or

 m aking false statem entsorm isrepresentationsto any governm entalentity oroo cial.

       7.     Defendant agrees to pay $43,985,plus any outstanding interest, in
 restitution forthe fraudulently obtained PPP loans alleged in the Indictm ent.

       8.     The parties agree tojointly recom m end probation in lieu ofa term of
 incarceration.

       9.     Defendant is aw are that the sentence has not yet been determ ined by

 the Com 't.Defendant also is aware that any estim ate of the probable sentencing

 range or sentence that Defendant m ay receive,w hether that estim ate com es from

 Defendant's attorney, this OG ce, or the probation oo ce, is a prediction, not a

 prom ise,and is notbinding on thisOo ce,theprobation oo ceorthe Court.Defendant

 understands furtherthatany recom m endation thatthisOG ce m akesto the Courtas

 to sentencing,w hetherpttrsuantto thisagreem entorotherwise,isnotbindingon the

 Court and the Court m ay disregard the recom m endation in its entirety.D efendant

 understands and acknow ledges,as previously acknowledged in paragraph 3 above,

 that Defendant m ay not w ithdraw his plea based upon the Court's decision not to




                                           4




                                                                                           1
                                                                                           I
Case 0:23-cr-60169-RKA Document 24 Entered on FLSD Docket 12/21/2023 Page 5 of 7



 accept a sentencing recom m endation m ade by D efendant, this OG ce, or a

 recomm endation m adejointly by Defendantand thisOo ce.
       10.    Defendant agrees,in an individualand any other capacity,to forfeit to

 the U nited States,voluntarily and im m ediately,any right,title,and interest to any

 property,realor personal,w hich constitutes or is derived from proceeds traceable to

 and/orobtained directly orindirectly,asa resttltofsuch ofense,pursuantto 18 U .S.C

 jj981(a)(1)(C)and 982(a)(2).
       11.    Defendant further agrees that forfeiture is independent of any

 assessm ent,sne,cost,restitution,orpenalty thatm ay be im posed by the Court.The

 Defendant knowingly and voluntarily agrees to w aive allconstitutional,legal,and

 equitable defenses to the forfeitm e, including excessive lnes under the Eighth

 Am endm ent to the U nited States Constitution.ln addition,the Defendantagrees to

 waive:any apphcabletim elim itsforadm inistrativeorjudicialforfeitm eproceedings,
 the requirem entsofFed.R.Crim .P.32.2 and 43(a),and any appealoftheforfeiture.
       12.    Defendant also agrees to fully and truthfully disclose the existence,

 nature and location ofa11assets in w hich Defendanthas orhad any directorindirect

 financial interest or control,and any assets involved in the ofenses of conviction.

 Defendant agrees to take al1steps requested by the U nited States for the recovery

 and forfeiture ofallassets identiled by the United States as subject to forfeiture.
 Thisincludes,but isnot lim ited to,the tim ely delivery upon requestofa1lnecessal'y

 and appropriate docum entation to deliver good and m arketable title,consenting to


                                          5


                                                                                        I
                                                                                        !
                                                                                        1
                                                                                        !
                                                                                        )
Case 0:23-cr-60169-RKA Document 24 Entered on FLSD Docket 12/21/2023 Page 6 of 7



 al1ordersofforfeiture,and notcontesting orim peding in any w ay with any crim inal,

 civilor adm inistrative forfeiture proceeding concerning the forfeiture.

       13.    Defendantisaware thatTitle28,U nited States Code,Section 1291,and

 Title 18,U nited States Code,Section 3742,alord Defendantthe rightto appealthe

 sentence im posed in thiscase.Acknowledging this,in exchange for the undertakings

 m ade by theU nited Statesin tllisplea agreem ent,Defendanthereby waives allrights

 conferred by Sections 1291 and 3742 to appealany sentence im posed,including any

 restitution order,orto appealthe m annerin w llich the sentence wasim posed,unless

 the sentence exceedsthe m axim um perm itted by statute oristhe resultofan upw ard

 departure and/or an upw ard variance 9om the advisor.y guideline range that the

 Courtestablishesatsentencing.Defendantfurther understands thatnothing in this

 agreem ent shallalect the governm ent's right and/or duty to appeal as set forth in

 Title 18,United States Code,Section 374209 and Title 28,United States Code,
 Section 1291.However,ifthe U nited States appeals Defendant's sentence pursuant

 to Sections37421)and 1291,Defendantshallbe released 9om the above waiver of
 hisrightto appealhis sentence.

       14.    Defendantfurtherhereby waives allrights conferred by Title 28,U nited

 StatesCode,Section 1291toassertany claim that(1)the statutetowhich Defendant
 is pleading guilty is unconstitutional,and/or (2)the admitted conductdoes notfall
 w ithin the scope ofthe statute ofconviction.




                                           6
Case 0:23-cr-60169-RKA Document 24 Entered on FLSD Docket 12/21/2023 Page 7 of 7



             By signing tllisagreem ent,Defendantacknow ledgesthatDefendanthas

 discussed the appealw aiver set forth in this agreem ent with Defendant's attorney.

 Defendantfurther agrees,togetherw ith thisO x ce,to requestthatthe Courtenter a

 specilc Snding that Defendant's w aiver ofhis rightto appealthe sentence im posed

 in thiscase and hisrightto appealhiscond ction in the m anner described above w as

 knowing and voluntary.

       16.   Thisisthe entire agreem entand understanding between this OG ce and

 D efendant. There are no other agreem ents, prom ises, representations, or

 understandings.

                                      M RKENZY IA POIN TE
                                      UN ITED STATESAW O RN EY

 DATE: 11/30/2023               BY:                    C
                                      TREVOR C.        S
                                      ASSISTAN T U N ITED STATES A W ORNEY
                '



 oATs:1%$Jtàoomz                BY: t + 1,.* ,+
                                    KRISTIK ASSEBAU M
                                                                                  -

                                    COU N S FOR D EFEN DA N T
                                        .          *   .

 ovs,lw%t$'
          a- 3                  BY:
                                      KAT INA BROW N
                                      DEFEN DAN T
